W. H. ROGERS CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE RESPONDENT.W. H. Rogers Co. v. CommissionerDocket No. 10708.United States Board of Tax Appeals10 B.T.A. 138; 1928 BTA LEXIS 4176; January 24, 1928, Promulgated *4176  Under the evidence, held, the petitioner is not entitled to have its tax liability for the fiscal years ended June 30, 1919, and June 30, 1920, computed under the provisions of sections 327 and 328 of the Revenue Act of 1918.  A. Norman Young, C.P.A., for the petitioner.  J. Harry Byrne, Esq., for the respondent.  MARQUETTE *138  This proceeding is for the redetermination of deficiencies in income and profits taxes asserted by the respondent in the amounts of $1,507.26 for the fiscal year ended June 30, 1919, and $8,906.95 for the fiscal year ended June 30, 1920.  The petitioner alleges that the respondent erred in refusing to grant it special assessment under the provisions of sections 327 and 328 of the Revenue Act of 1918.  FINDINGS OF FACT.  The petitioner is an Illinois corporation with its principal office and place of business at Chicago.  The petitioner's profit and loss accounts for the fiscal years ended June 30, 1919, and June 30, 1920, and its balance sheets as of June 30, 1919, and June 30, 1920, are as follows: Profit and loss accountsYear ended June 30, 1919Year ended June 30, 1920Sales$306,749.70$520,467.93Cost of sales252,598.05427,949.48Gross profit54,151.6592,518.45Selling and administrative expenses38,207.8462,916.4015,943.8129,602.05Other income4,725.819,837.63Net income before deducting Federal income taxes 20,669.6239,439.68Federal income taxes835.593,200.45Net Income19,834.0336,239.23*4177 *139 Balance sheetsYear ended June 30, 1919Year ended June 30, 1920ASSETSCash$1,407.18$2,585.68Liberty bonds1,833.4083.40Employees' Liberty bonds25.00Accounts receivable21,576.1439,399.77Bills receivable380.00Merchandise inventory34,478.4056,221.70BondsMachinery and equipment6,257.347,317.19Good will65,957.46105,607.74LIABILITIESAccounts payable19,768.5212,447.85Notes payable4,000.0027,000.00Reserve for depreciation1,342.132,073.85Capital stock5,000.005,000.00Surplus35,846.8159,086.0465,957.46105,607.74OPINION.  MARQUETTE: The petitioner contends that during the fiscal years ended June 30, 1919, and June 30, 1920, there existed abnormalities affecting its income and invested capital which entitle it to relief under the provisions of sections 327 and 328 of the Revenue Act of 1918.  All of the material allegations of the petition are denied by the respondent's answer and the only evidence presented in support of the petition consists of a comparative profit and loss statement for the years 1915 to 1927, inclusive, and a comparative balance sheet for*4178  the same period, parts of which pertinent here are set forth in the findings of fact.  These exhibits fail to show that there existed during the years under consideration any abnormalities affecting either the petitioner's income or invested capital which would entitle it to the relief claimed.  Judgment will be entered for the respondent.